                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          Charlotte Division


UNITED STATES OF AMERICA
                                                    JUDGMENT OF ACQUITTAL
       V.
                                                    CASE NUMBER: 3:06cr74-2-Britt
RICKY EDWARD GRAVES




       On April 11, 2007, the Defendant Ricky Edward Graves was found not guilty. IT IS
therefore ORDERED that the Defendant is acquitted, discharged and any bond exonerated in the
offense charged in:

       Count 1 of the Superseding Bill of Indictment: as to the offense of conspiracy to
       defraud the United States; and
       Count 2 of the Superseding Bill of Indictment: as to the offense of obstruction of
       the due administration of the Internal Revenue Code.

       This 12 April 2007.




                                             __________________________________
                                                   W. Earl Britt
                                                   Senior U.S. District Judge




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